   Case 2:10-md-02179-CJB-DPC Document 25854-1 Filed 07/17/19 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig                     *
“Deepwater Horizon” in the Gulf                                 MDL 2179
of Mexico, on April 20, 2010                        *
                                                                SECTION: J(2)
                                                    *
Applies to 12-cv-968, BELO                                      JUDGE BARBIER
                                                    *
AND                                                             MAGISTRATE JUDGE WILKINSON
                                                    *
BELO CASE NO.: 19-00248
_________________________________________________________________________________________________________

                                               ORDER

        Upon considering the Response filed by Plaintiff, Deloree Knight (Rec. Doc. 25854);

        IT IS HEREBY ORDERED THAT:

        1.      The Show Cause Order (Rec. Doc. 25811) regarding plaintiff, Deloree Knight,
                is hereby set aside

        2.      Plaintiff and her counsel, Timothy J. Falcon and Allen W. Lindsay, are exempt
                from appearing in Court on July 19, 2019 regarding the Show Cause Order.


        NEW ORLEANS, Louisiana, this _____ day of July, 2019.



                                        ______________________________________________________________
                                        UNITED STATES DISTRICT JUDGE CARL J. BARBIER
